                       UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION

UNITED STATES OF AMERICA,                                 )
                                                          )
              Plaintiff,                                  )
    vs.                                                   )
MINDY M. HOUCK                                            ) Case No. 13-00315-01-CR-W-SRB
                                                          )
              Defendant.                                  )



           ORDER MODIFYING CONDITIONS OF SUPERVISED RELEASE

       For good and sufficient cause, as shown by the U.S. Probation Office in its memorandum
of January 12, 2017, and a hearing having been waived by defendant, it is hereby ORDERED
that the following be added to the conditions of supervised release for Mindy M. Houck:

       The defendant will reside in and satisfactorily participate in a residential
       reentry center program, until discharged by the center director after
       consultation with the Probation Office, for a period not to exceed 120 days.

                                                                 /s/ Stephen R. Bough
                                                                STEPHEN R. BOUGH
                                                                U.S. DISTRICT JUDGE


Dated at Kansas City, Missouri, this    12th                  day of January            , 2017.




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